                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

____________________________________

CHRISTOPHER SMITH,                          :
               Plaintiff,                   :
                                            :
              v.                            :             No. 5:24-cv-2134
                                            :
THE FINTEX GROUP LLC and                    :
ANDREW WEINSTEIN,                           :
                  Defendants.               :
____________________________________

                                          ORDER

       AND NOW, this 6th day of January, 2025, upon consideration of Plaintiff’s letter

requesting an adjournment of Defendants’ Motion for Partial Summary Judgment, see ECF No.

49; Defendants’ non-opposition thereto, see ECF No. 50; and in light of the ongoing discovery

dispute, IT IS HEREBY ORDERED THAT the scheduling order, see ECF 30, is AMENDED

as follows:

       1.     All dispositive motions shall be filed not later than February 6, 2025;

       2.     Defendants’ Motion to Seal, see ECF No. 45, and Motion for Partial Summary

Judgment, see ECF No. 46, are DISSMISSED without prejudice;

       3.     A final pretrial conference for this matter will be held on April 22, 2025, at

3:00 p.m., at the Edward N. Cahn U.S. Courthouse and Federal Building, Courtroom C, Third

Floor, 504 West Hamilton Street, Allentown, Pennsylvania; and

       4.     The case is scheduled for trial on April 28, 2025.




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5.   In all other respects, the scheduling order remains unchanged.



                                          BY THE COURT:


                                          /s/ Joseph F. Leeson, Jr._________
                                          JOSEPH F. LEESON, JR.
                                          United States District Judge




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